Case 1:14-ml-02570-RLY-TAB Document 11573 Filed 08/19/19 Page 1 of 3 PageID #: 85386



                     IN THE UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION
   ___________________________________________

   IN RE COOK MEDICAL, INC., IVC FILTERS
   MARKETING, SALES PRACTICES AND                                Case No. 1:14-ml-2570-RLY-TAB
   PRODUCTS LIABILITY LITIGATION                                 MDL No. 2570
   ___________________________________________

   Greg Neal, 1:17-cv-00275
   Stephanie Redifer, 1:18-cv-1370
   Tracy Tapp, 1:18-cv-1804
   Terry Lynn Kisner, 1:19-cv-02092
   ___________________________________________

                       NOTICE OF PARTIAL WITHDRAWAL OF MOTION

            The Cook Defendants hereby withdraw their Motion for Summary Judgment Based on

   Applicable Statutes of Limitation from Four States (Dkt. No. 11502) as to Plaintiffs Greg Neal,

   Stephanie Redifer, Tracy Tapp, and Terry Lynn Kisner.

            After the Cook Defendants filed their motion, the attorneys for Plaintiffs Kisner and Tapp

   provided the Cook Defendants with additional information demonstrating facially-timely injuries.

   In light of this additional information, the Cook Defendants believe that the specific ground for

   summary judgment asserted in this particular motion does not apply to Plaintiffs Kisner and Tapp’s

   claims, and therefore withdraw their motion as to Plaintiffs Kisner and Tapp.

            As to Plaintiff Redifer, her attorneys contacted the Cook Defendants after the motion was

   filed and indicated that, if given additional time, they will provide an additional record

   demonstrating a timely injury. The Cook Defendants have therefore granted Plaintiff Redifer a

   30-day extension to provide this record and withdraw their motion as to her at this time.

            The Cook Defendants also withdraw their motion as Plaintiff Neal in light of his attorney’s

   representation that Plaintiff Neal recently passed away and no representative has been substituted




   US.124185296.02
Case 1:14-ml-02570-RLY-TAB Document 11573 Filed 08/19/19 Page 2 of 3 PageID #: 85387



   as Plaintiff in his stead. The Cook Defendants still believe that the specific ground for summary

   judgment asserted in their motion applies to Plaintiff Neal’s claims but withdraw their motion as

   to him while his family and heirs decide whether to continue pursuing his case.



                                               Respectfully submitted,



   Dated: August 19, 2019                      /s/ Andrea Roberts Pierson
                                               Andrea Roberts Pierson (# 18435-49)
                                               Jessica Benson Cox (#26259-49)
                                               FAEGRE BAKER DANIELS LLP
                                               300 North Meridian Street, Suite 2700
                                               Indianapolis, Indiana 46204-1750
                                               Telephone: (317) 237-0300
                                               Facsimile:     (317) 237-1000
                                               Andrea.Pierson@FaegreBD.com
                                               Jessica.Cox@FaegreBD.com

                                               James Stephen Bennett (# 22869-02)
                                               FAEGRE BAKER DANIELS LLP
                                               110 West Berry Street, Suite 2400
                                               Fort Wayne, Indiana 46802-2322
                                               Telephone: (260) 424-8000
                                               Facsimile:    (260) 460-1700
                                               Stephen.Bennett@FaegreBD.com

                                               Counsel for the Defendants Cook Incorporated,
                                               Cook Medical LLC (f/k/a Cook Medical
                                               Incorporated), and William Cook Europe ApS




   US.124185296.02
Case 1:14-ml-02570-RLY-TAB Document 11573 Filed 08/19/19 Page 3 of 3 PageID #: 85388



                                   CERTIFICATE OF SERVICE

            I hereby certify that on August 19, 2019, a copy of the foregoing motion was filed

   electronically and notice of the filing of this document will be sent to all parties by operation of

   the Court’s electronic filing system to CM/ECF participants registered to receive service in this

   matter. Parties may access this filing through the Court’s system.




                                                        /s/ Andrea Roberts Pierson




   US.124185296.02
